         Case 14-04844-dd      Doc 27       Filed 03/03/15 Entered 03/03/15 11:43:28      Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA

IN RE:                                          )
                                                ) Case No. 14-04844-dd
Ralph Blanton Shealy                            ) Chapter 13
                               Debtor(s).       )
                                                ) REPORT OF NO SALE
                                                )


         On December 10, 2014, the court entered an Order on Motion to Sell Free and Clear of Liens, whereby

Debtor had until February 8, 2015 to sell his 2005 Chrysler, 2003 Dodge Dakota, 1964 Ford Thunderbird,

1973 Dodge Dart, 1965 Plymouth Belvedere, 1972 AMC Ambassador station wagon, 1982 Chrysler Imperial,

and 1977 Chrysler Newport under the terms described in the motion. The vehicles have not sold and time

period allowing the sale has expired.

         WHEREBY, Debtor reports no sale of the vehicles.



                                              MOORE TAYLOR LAW FIRM, P.A.


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March 3, 2015
